USCA4 Appeal: 23-2097    Doc: 1          Filed: 10/20/2023   Pg: 1 of 2


                                                                   FILED: October 20, 2023

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                         ___________________

                                              No. 23-2097
                                          (3:17-cv-00461-REP)
                                         ___________________

        LULA WILLIAMS; GLORIA TURNAGE; GEORGE HENGLE; DOWIN
        COFFY; MARCELLA P. SINGH, Administrator of the Estate of Felix M.
        Gillison, Jr., on behalf of themselves and all individuals similarly situated

                     Plaintiffs - Appellees

        v.

        MATT MARTORELLO

                     Defendant - Appellant

         and

        BIG PICTURE LOANS, LLC; ASCENSION TECHNOLOGIES, INC.; DANIEL
        GRAVEL; JAMES WILLIAMS, JR.; GERTRUDE MCGESHICK; SUSAN
        MCGESHICK; GIIWEGIIZHIGOOKWAY MARTIN

                     Defendants


        This case has been opened on appeal.

        Originating Court                          United States District Court for the
                                                   Eastern District of Virginia at
                                                   Richmond
        Originating Case Number                    3:17-cv-00461-REP
        Date notice of appeal filed in             10/17/2023
        originating court:
USCA4 Appeal: 23-2097   Doc: 1   Filed: 10/20/2023   Pg: 2 of 2



        Appellant(s)                       Matt Martorello
        Appellate Case Number              23-2097
        Case Manager                       Rickie Edwards
                                           804-916-2702
